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 7
      Attorney for Defendants Authority Tax Services, LLC, a California Limited
 8    Liability Company; Johnson Giordano & Roth, APC, a California Professional
 9    Corporation; Wayne R. Johnson, an individual; Thomas M. Giordano-Lascari, an
      individual
10
11
                            UNITED STATES DISTRICT COURT
12
13                       SOUTHERN DISTRICT OF CALIFORNIA
14                                          ) Case No. 13-CV-2782 JAH JLB
      JOHNATHAN SAPAN,
15                                          )
                                            )
16          Plaintiff,                      ) JOINT NOTICE OF SETTLEMENT
                                            )
17                                          )
                                            )
18              -vs-                        )
                                            )
19                                          )
      AUTHORITY TAX SERVICES, a             )
20                                          )
      California Limited Liability Company, )
21    JOHNSON GIORDANO & ROTH,              )
                                            )
      APC, a California Professional        )
22    Corporation, WAYNE R. JOHNSON, an )
23    individual, THOMAS M. GIORDANO- ))
      LASCARI, an individual                )
24                                          )
                                            )
25          Defendants.                     )
26     ________________________________ )

27                 Comes now jointly all parties in the above captioned action, to notify
28    the Court that the parties have reached settlement of the material issues in dispute in


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                             NOTICE OF JOINT SETTLEMENT
     Case 3:13-cv-02782-JAH-JLB Document 25 Filed 11/17/14 PageID.122 Page 2 of 3



 1    the above captioned case and expect to be able to draft and execute a final written
 2
      settlement agreement within a reasonable amount of time, not to exceed forty five
 3
 4    (45) days.    Plaintiff will file a notice of dismissal with prejudice upon final
 5
      settlement.   The parties request that the Court continue all hearing dates and
 6
 7    deadlines currently on calendar and set a status conference in forty five (45) days to
 8    report any problems if a dismissal is not filed by that time.
 9
10    DATED: November 17, 2014                      PRATO & REICHMAN, APC
11
12
13                                                  __/s/ Christopher J. Reichman____
                                                    By: Christopher J. Reichman,
14
                                                    Attorney for Plaintiff,
15                                                  JONATHAN SAPAN
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                             NOTICE OF JOINT SETTLEMENT
     Case 3:13-cv-02782-JAH-JLB Document 25 Filed 11/17/14 PageID.123 Page 3 of 3



 1
 2
                                         ATTESTATION
 3
 4          I hereby attest that Christopher J. Reichman has given me approval to file this
 5
      Joint Notice. I declare under penalty of perjury under the laws of the United States
 6
 7    that the foregoing is true and correct.
 8    Dated: November 17, 2014                  Law Office of Joshua D. Mackenroth, APC
 9
10
11
12                               By:   _________________________________
                                       Joshua D. Mackenroth, Esq., Attorney of record for
13                                     Defendants Authority Tax Services, LLC, a
14                                     California Limited Liability Company; Johnson
                                       Giordano & Roth, APC, a California Professional
15
                                       Corporation; Wayne R. Johnson, an individual;
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                              NOTICE OF JOINT SETTLEMENT
